                  Exhibit 2

     Filed Under Seal




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                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           Case No. 20-CV-954




    FARHAD AZIMA,                        )
                                         )
                    Plaintiff,           )
                                         )
          vs.                            )
                                         )
    NICHOLAS DEL ROSSO and VITAL         )
    MANAGEMENT SERVICES, INC.,           )
                                         )
                    Defendants.          )




                    DEPOSITION OF NICHOLAS DEL ROSSO

                                  VOLUME II

                    (Contains confidential testimony)



     ____________________________________________________________

                                  8:06 A.M.

                      TUESDAY, FEBRUARY 14, 2023
      ____________________________________________________________




    By:   Denise Myers Byrd, CSR 8340, RPR




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1                                 A P P E A R A N C E S
2

3       For the Plaintiff:
4                                MILLER & CHEVALIER CHARTERED
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8
                                 WOMBLE BOND DICKINSON (US) LLP
9                                BY: CHRISTOPHER JONES, ESQ,
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10                               Suite 1100
                                 Raleigh, NC 27601
11                               (919) 755-2100
                                 Chris.Jones@wbd-us.com
12

13      For Defendants:
14                               NELSON MULLINS RILEY & SCARBOROUGH
                                 BY: BRANDON NEUMAN, ESQ.
15                                    MATT GORGA, ESQ.
                                      JOHN BRANCH III, ESQ. (Remote)
16                               301 Hillsborough Street
                                 Suite 1400
17                               Raleigh, NC 27603
                                 (919) 329-3800
18                               Brandon.Neuman@nelsonmullins.com
                                 Matt.Gorga@nelsonmullins.com
19
                                 NELSON MULLINS RILEY & SCARBOROUGH
20                               BY: SAMUEL ROSENTHAL, ESQ.
                                 101 Constitution Avenue NW
21                               Suite 900
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22                               (202) 689-2951
                                 Sam.Rosenthal@nelsonmullins.com
23

24      Also Present:            Farhad Azima (Remote)
25

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 1      Q.     When did that close?
 2      A.     I don't remember now.        I keep a mailing address
 3             at the same place, but I don't remember when I
 4             closed the office.
 5      Q.     And did you -- did there come a time when you
 6             moved your materials out of that office and
 7             brought them to your home?
 8      A.     Yes.
 9      Q.     And did those include anything regarding the
10             projects you did for Dechert that are relevant
11             to this case?
12                          ATTORNEY NEUMAN:      Objection to form.
13                          THE WITNESS:    Possibly.     Quite
14             possibly.
15      BY ATTORNEY BEHRE:
16      Q.     And do those files still exist at your home?
17      A.     I don't have anything at my home.          Everything's
18             gone to my lawyers.
19      Q.     And in terms of hard copy, were they in boxes of
20             documents or file folders?
21      A.     Bankers box.
22      Q.     Okay.      How many bankers box did you turn over to
23             your lawyer?
24      A.     I have no idea.
25      Q.     Was it --
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 1                          THE WITNESS:    It's -- it was in the
 2             hands of Mr. McIntyre.        I apologize.       Yeah.
 3      BY ATTORNEY BEHRE:
 4      Q.     Why did you give the Huawei laptop and the hard
 5             drive to Mr. McIntyre?
 6                          ATTORNEY NEUMAN:      Objection.     Scope.
 7                          THE WITNESS:    Let me just think about
 8             that.      I gave them to him for safekeeping, or I
 9             asked him -- asked him to look after them for
10             safekeeping.
11      BY ATTORNEY BEHRE:
12      Q.     And where is Mr. McIntyre physically located?
13             What country?
14                          ATTORNEY NEUMAN:      Objection.     Scope.
15                          THE WITNESS:    The United Kingdom.
16      BY ATTORNEY BEHRE:
17      Q.     So why in the world would you send your computer
18             to the UK for safekeeping?
19      A.     I didn't.
20      Q.     What did you do?
21      A.     It was in my flat in London, and I left it there
22             because it was a work device.              I was expecting
23             to be back in London.
24      Q.     And why did Mr. McIntyre need to take custody of
25             that when your son Leo was in the apartment
                                                                          339

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1              record.       Time is 11:33 a.m.
2                            (Brief Recess.)
3                            THE VIDEOGRAPHER:       Going back on the
4              record.       The time is 11:34 a.m.
5       BY ATTORNEY BEHRE:
6       Q.     Mr. Del Rosso, why did you not retrieve your
7              devices from Mr. McIntyre?
8       A.     Why did I not, did you say?
9       Q.     Yes.       Why didn't you ever get them back?
10      A.     I didn't travel over to London.             I guess I
11             forgot about them for a while and then had been
12             in the hospital for quite some time.
13      Q.     Do you recall what month of 2020 you provided
14             those to Mr. McIntyre --
15                           ATTORNEY NEUMAN:       Objection.     Scope.
16      BY ATTORNEY BEHRE:
17      Q.     -- through your son Leo?
18      A.     I know when they were provided to him.
19             October 25, 2020.
20      Q.     Okay.      And that's the same month of the same
21             year that this lawsuit was filed, correct, here
22             in North Carolina?
23      A.     Yes.
24      Q.     And those devices contain documents relevant to
25             this lawsuit, correct?
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 1             Mr. Azima, correct?
 2                          ATTORNEY NEUMAN:       Objection to form.
 3                          THE WITNESS:     That's what I understood,
 4             yes.
 5      BY ATTORNEY BEHRE:
 6      Q.     And he feigned that he was a bosom buddy of
 7             Mr. Azima, didn't he?
 8      A.     I have no idea what their relationship was or
 9             where it went.
10      Q.     And in fact, Mr. Buchanan was the main point of
11             contact for Mr. Azima at some point with regard
12             to RAK matters, right?
13                          ATTORNEY NEUMAN:       Objection to form.
14                          THE WITNESS:     Yes, I've heard that,
15             yeah.      Yes.   Sorry.
16                          ATTORNEY BEHRE:        Okay.   Let's go off
17             the record.       We're almost done.
18                          THE VIDEOGRAPHER:       Going off the
19             record.      The time is 12:07 p.m.
20                          (Brief Recess.)
21                          THE VIDEOGRAPHER:       Going back on the
22             record.      The time is 12:24 p.m.
23      BY ATTORNEY BEHRE:
24      Q.     Mr. Del Rosso, what work did Shanahan Law Group
25             do for you?
                                                                          372

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 1      A.     They provided legal advice to me.
 2      Q.     How many different engagements?
 3      A.     I don't know.
 4      Q.     Do you have engagement letters or letter?
 5      A.     Yes.
 6      Q.     Did Shanahan Law Group work for Dechert?
 7      A.     No.
 8      Q.     Were they paid by Dechert?
 9      A.     No.
10      Q.     Were they paid by RAK?
11      A.     Indirectly, yes, through me.
12      Q.     So RAK gave you the money to pay Shanahan?
13      A.     On occasions they did, yes.
14      Q.     Was all the money that was paid to the Shanahan
15             Law Group for legal services provided to you?
16                          ATTORNEY NEUMAN:      Objection to form.
17             Instruct him not to answer on the basis of
18             attorney-client privilege.
19                          ATTORNEY BEHRE:       I'm not asking what
20             the legal services were.
21                          I'm asking the witness was all of the
22             money that you paid the Shanahan Law Group money
23             that was paid for legal services.
24                          ATTORNEY NEUMAN:      And I'm instructing
25             you not to answer on the basis of
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 1                           COURT REPORTER'S CERTIFICATE

 2

 3                 I, DENISE MYERS BYRD, Court Reporter, CSR 8340,

 4       the officer before whom the foregoing deposition of

 5       NICHOLAS DEL ROSSO was conducted, do hereby certify that the

 6       witness's testimony was taken down by me in stenotype to

 7       the best of my ability and thereafter transcribed under my

 8       supervision; and that the foregoing pages, inclusive,

 9       constitute a true and accurate transcription of the

10       testimony of the witness.

11                 Before completion of the deposition, review of the

12       transcript [X] was [ ] was not requested.         If requested, any

13       changes made by the deponent (and provided to the reporter)

14       during the period allowed are appended hereto.

15                 I further certify that I am neither counsel for,

16       related to, nor employed by any of the parties to this

17       action, and further, that I am not a relative or employee of

18       any attorney or counsel employed by the parties thereof, nor

19       financially or otherwise interested in the outcome of said

20       action.   Signed this 16th day of February 2023.

21

22
                                          Denise Myers Byrd
23                                        CSR 8340, RPR

24

25




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